Case 2:08-cr-00163-JCM-GWF          Document 606     Filed 06/15/11        Page 1 of 3;
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                           UNITED STATES DISTRICT COURT
                                    D ISTRICT O F N EV AD A

 UNITED STATESOFAM ERICA,                       )                                      I
                                                )
                      Plaintiff,.
                                '              '
                                                )
                                                )
                                                )
                                                )        2:08-CR-163-JCM (GW F)
 ALFREDO FLORES,                                )
                                                )                              I
                      D efendant.
                             FIN A L O R DER O F FO R FEITU RE

         OnM ay3,2010(Docket//506),theUnitedStatesDistrictCourtfortheDistrictofNevada
 enteredaPreliminaryOrderofForfeiturepursuanttoFed.R.Crim,P.32.2(b)(1)and(2)and Title
 18,UnitedStatesCode,Section924(d)(1)and(3)andTitle28,UnitedStatesCode,Section2461(c)s
 based upon thejury verdictfinding defendantALFREDO FLORES guilty ofcriminaloffense,
 forfeiting specitk property alleged in the lndictment and shown by the United States to have a
 requisitenexusto theoffenseto which defendantALFREDO FLORES wasfound guilty.
         This Coul'
                  tfinds thefupited States of Am erica published the notice ofthe forfeiture in
 accordance with the 1aw on Jtme 14,2010,June 21,2010,and Jtme 28,2010,in the LasVegas
 Review-loum al/sun;and via the officialgovem mentinternetforfeiture site,w ww,forfeiture.gov,
 consecutivelyfrom M ay 17,20l0throughJune 15,2010,furthernotifyinga1lknown third partiesby
 personalserviceorbyregularmailandcertifiedm ailreturn receiptrequested,oftheirrighttopetition
 the C ourt.#520.
Case 2:08-cr-00163-JCM-GWF           Document 606   Filed 06/15/11    Page 2 of 3



        TheUnited Sutessenred a11known third partypetitionersbypersonalservice orbyregular
 mailandcertifiedmailreturnrsççiptrequested:
                a.   Kelly Carn,6560 SpenceyStreet,#A3.LasVegas,N evada 89119 bypersonal
                     serviceon July 21,2010,bytheUnited StatesM arshalsService.$534.
                b.   BradleyM oore,6765Tulip FallsDrive,//1112,Henderson,Nevada89011by
                     personalserviceonNovem ber1,2010,bytheUnited StatesM arshalsService
                     #535.
                c.   Roderick Jones,Register # 42823-048,FClLa-
                                                              l-una,FederalCorrectiorial
                     lnstitute,P.O.Box3000,Anthony,Texas,8802l,wasservedonJuly21,2010,
                     by regularmailand certified m ail.Thecertified m ailwassigned on July 26,
                     2010.*536.
                d.   JohnM atsubayashi,2314 W est166thStreet,Torrance,Californias 90504,was

                     served (yplul
                              ,  y21,20l0,byregularmailandcertifiedmail.Thecertifiedmail
                     wassignedonJuly73,2.
                                        910
                                          ..#537.
 PETITIO N S:
        On August4,2010,Kelly Carn signed a Petition,Stipulation forReturn ofProperty,and
 Order. The United Statesfiled KellyCarn'sPetition,Stipulation forReturn ofProperty,and Order
 on September8,2010.#533.On September13,2010,Kelly Carn'sPetitien,Stipulation forReturn
 ofPropertysand Orderwasentered.//538.
        On November5,2010,Bradley M ùoresignedaPetition,Stipulation forReturnofProperty,
 and Order.n eUnitedStatestiledBradleyM oore'sPetition,StipulationforReturnofProperty, and
 OrderonNovem ber5,2010.#546.OnNovem ber9,2010,BradleyM oore'sPetition,Stipulationfor
 Return of Property,and Orderw asentered.//551.
        ThisCourtfindsno otherpetitionsweretiled herein byoron behalfofany person orentity
                             :.:'r
 andthetimeforfiling suchpetitipns
                               4
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                                      aimj
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                                           hhgsexpired.
                                         k.I
Case 2:08-cr-00163-JCM-GWF
'
                                         Document 606     Filed 06/15/11   Page 3 of 3


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            n isCourtfindsnootherpetitionsarependingwithregardtotheassetsnamedhpreinandthe
                                                                                     !
    timeforpresentingsuchpetitionshasexpired.                                        j
                                                                                     !
            THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatal1right,

    title,andinterestinthepropertyhereinaRerdescribediscondemned,forfeited,andvpstedinthe
                                                                                     i
    UnitedStatesofAmericapurstmnttoFed.R.Crim.P,32.2(b)(4)(A)and(B);Fed.q       .Crim.P.
    32.2(c)(2);Title18,UnitedStatesCode,Section924(d)(l)and(3)andTitle28,UnitedKa
                                                                               i tesCode,
    Section 2461(c);and Title 21:
                                ?United StytçsCode,Section 853(n)(7)and shallbe disposed of
                                     j          ,..                                  j
                                 '
                                                                                     ë
    according to law :                                                               .

                  a)     a,357Rugerrevolver(serialnumber570-92932);
                  b)     aW alther,45caliberpistol(serialnumber003925W 993);
                  c)     .45caliberOlympicArmspistol(serialnumber57805);
                  d)     alz-gaugeM ossbergshotgun(serialnumberP900915);             I
                                                                                     I
                  e)     fiveroundsoflz-gaugeMossbergshotgunammunition;
                                                                                     i
                  t)     aSpringfieldAnnory.45caliberpistol(serialnumberN34723$.
                                                                               )and
                  g)     anytirearm orammunitioninvolvedinorusedinanyknowingviiilationofthe
                         criminalchargesoftheindictm ent.

            ITISFURTHER ORDERED,ADJUDGED,AND DECREED thatanyandjl
                                                               I
                                                                 forfeited
    fundssincludingbutnotlimitedit.o
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    anyincomederivedasaresultoftheUnited'staiesofAmerica'smanagementofanypropprtyforfeited
                                                                                     i
    herein,andtheproceedsfrom thesaleofanyforfeitedpropertyshallbedisposedofaccoràingtolaw.
            Th                                                                     i
              eClerk ishereby directed to send copiesofthisOrderto al1counselofrecoyd and three
    certified copiesto theUnit   atesAttorne 'sOffice.                               i
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            DATEDthis1               dayof                   ,2011.                  1
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